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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                JACKSONVILLE DIVISION

   MECHELL THOMPSON,

                              Plaintiff,

   vs.                                             Case No. 3:10-cv-953-J-34JRK

   CONSUMER PORTFOLIO SERVICES, INC.,

                         Defendant.
   _____________________________________/


                                    ORDER OF DISMISSAL

         This matter is before the Court on Plaintiff’s Notice of Dismissal of Case With

   Prejudice (Dkt. No. 17; Notice) filed on February 15, 2011. In the Notice, Plaintiff seeks

   dismissal of this matter with prejudice.    See Notice at 1.         Accordingly, it is hereby

   ORDERED:

         1.     This case is DISMISSED with prejudice.

         2.     The Clerk of the Court is directed to close the file.

         DONE AND ORDERED in Jacksonville, Florida, this 22nd day of February, 2011.




   ja
   Copies to:
   Counsel of Record
